






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00043-CR






Robert Alan Young, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF COMAL COUNTY, 207TH JUDICIAL DISTRICT

NO. CR2008-271, HONORABLE CHARLES R. RAMSAY, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



PER CURIAM

		Appellant's brief was due May 14, 2009.  The brief has not been received and
appellant's appointed attorney, Joseph Emilio Garcia III, did not respond to this Court's notice that
the brief is overdue.  His response was due to be filed June 8, 2009.

		The appeal is abated.  The trial court shall conduct a hearing to determine whether
appellant desires to prosecute this appeal and, if so, whether the attorney it appointed to represent
appellant has abandoned the appeal.  Tex. R. App. P. 38.8(b)(2).  The court shall make appropriate
findings and recommendations.  If necessary, the court shall appoint substitute counsel who will
effectively represent appellant in this cause.  A record from this hearing, including copies of all
findings and orders and a transcription of the court reporter's notes, shall be forwarded to the clerk
of this Court for filing as a supplemental record no later than August 17, 2009.  Rule 38.8(b)(3).



Before Chief Justice Jones, Justices Waldrop and Henson

Abated

Filed:   July 15, 2009

Do Not Publish


